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                                                                 7   Counsel for Defendant Groupon, Inc.

                                                                 8
                                                                                                     UNITED STATES DISTRICT COURT
                                                                 9
                                                                                                              DISTRICT OF NEVADA
                                                                10

                                                                11       LAS VEGAS SKYDIVING                               Case No.: 2:18-cv-02342-APG-VCF
                                                                         ADVENTURES, LLC,
                                                                12
GREENBERG TRAURIG, LLP
                         10845 Griffith Peak Drive, Suite 600




                                                                13                              Plaintiff,                    STIPULATION AND ORDER TO TAKE
                             Telephone: (702) 792-3773
                             Facsimile: (702) 792-9002
                             Las Vegas, Nevada 89135




                                                                                                                               DEPOSITIONS AFTER DISCOVERY
                                                                14       v.                                                        CUTOFF AND TO EXTEND
                                                                                                                               DISPOSITIVE MOTION DEADLINE
                                                                15       GROUPON, INC.,
                                                                                                                                       (FIRST REQUEST)1
                                                                16
                                                                                                Defendant.
                                                                17

                                                                18

                                                                19            Plaintiff   Las    Vegas       Skydiving   Adventures,   LLC,   and   Defendant   Groupon,
                                                                20   Inc.(“Groupon”) by and through their respective counsel of record, and pursuant to Local Rules
                                                                21   IA 6-1, LR IA 6-2, and LR 7-1, hereby stipulate and agree as follows:
                                                                22
                                                                              1. That the following depositions be taken after the discovery cutoff of December 30,
                                                                23
                                                                                  2020, due to Plaintiff’s principals’ family emergencies and to various counsel/witness
                                                                24
                                                                                  unavailability:
                                                                25
                                                                                      a. 30(b)(6) deposition for Las Vegas Skydiving Adventures (currently noticed for
                                                                26
                                                                                          January 14, 2021)
                                                                27

                                                                28   1
                                                                      While the parties have previously moved to extend all discovery deadlines, this is the first request
                                                                     solely to allow depositions to occur beyond the discovery cutoff and to move the dispositive
                                                                     motion deadline.
                                                                                                                          1
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                                                                 1                  b. Sammy Vassilev (currently noticed for January 15, 2021)
                                                                 2
                                                                                    c. Iva Vassilev (currently noticed for January 15, 2021)
                                                                 3
                                                                                    d. Las Vegas Skydiving Adventures’ expert witness, W. Anthony Mason
                                                                 4
                                                                                       (currently noticed for January 13, 2021)
                                                                 5

                                                                 6                  e. Groupon’s expert witness Joshua Moulin (currently noticed for February 8,

                                                                 7                     2021)

                                                                 8                  f. Former Groupon employee Samantha Eller (if Plaintiff deems necessary, and
                                                                 9                     subject to Groupon’s right to seek a protective order) (date pending)
                                                                10
                                                                                    g. Groupon employee Natalie Welebir (if Plaintiff deems necessary, and subject
                                                                11
                                                                                       to Groupon’s right to seek a protective order) (date pending)
                                                                12
                                                                            2. That the current deadline for dispositive motions be extended by 60 days from January
GREENBERG TRAURIG, LLP
                         10845 Griffith Peak Drive, Suite 600




                                                                13                                                               Joint Pretrial Order April 30, 2021.
                             Telephone: (702) 792-3773
                             Facsimile: (702) 792-9002
                             Las Vegas, Nevada 89135




                                                                                29, 2021 to March 30, 2021.
                                                                14
                                                                            No additional discovery deadlines will be affected by this stipulation, which is being made
                                                                15                                                                If dispositive motions are filed, the deadline for filing the joint
                                                                                                                                  pretrial order will be suspended until 30 days after
                                                                     in good faith and not in an attempt to delay proceedings.    decision on the dispositive motions or further court order.
                                                                16

                                                                17    DATED this 16th day of December, 2020              DATED this 16th day of December, 2020

                                                                18    GIBSON LEXBURY LLP                                 GREENBERG TRAURIG, LLP

                                                                19    /s/ Roman Nikhman                                  /s/ Tyler R. Andrews
                                                                      STEVEN A. GIBSON / NEVADA BAR NO. 6656             MARK E. FERRARIO / Nevada Bar No. 1625
                                                                20    JODI D. LOWRY / NEVADA BAR NO. 7798                10845 Griffith Peak Drive, Suite 600
                                                                21    ROMAN NIKHMAN / NEVADA BAR NO. 15444               Las Vegas, NV 89135
                                                                      3470 East Russell Road                             TYLER ANDREWS / Nevada Bar No. 9499
                                                                22    Las Vegas, NV 89120                                3161 Michelson Drive, Suite 1000
                                                                      Counsel for Plaintiff Las Vegas Skydiving          Irvine, CA 92612-4410
                                                                23    Adventures, LLC                                    Counsel for Defendant Groupon, Inc.
                                                                24                                              IT IS SO ORDERED.
                                                                25

                                                                26
                                                                                                                UNITED STATES MAGISTRATE JUDGE
                                                                27
                                                                                                                                     12-21-2020
                                                                28                                              DATED:              _____________________


                                                                                                                     2
                                                                     Case 2:18-cv-02342-APG-VCF Document 72 Filed 12/21/20 Page 3 of 3




                                                                 1                                   CERTIFICATE OF SERVICE
                                                                 2                 Pursuant to Fed. R. Civ. P. 5(b), I hereby certify that on the 16th day of
                                                                 3   December, 2020, a true and correct copy of the foregoing, STIPULATION AND
                                                                 4   [PROPOSED] ORDER TO TAKE DEPOSITIONS AFTER DISCOVERY CUTOFF AND
                                                                 5   TO EXTEND DISPOSITIVE MOTION DEADLINE (FIRST REQUEST), was filed

                                                                 6   electronically via the Court’s CM/ECF system. Notice of filing will be served on all parties by

                                                                 7   operation of the Court’s EM/ECF system, and parties may access this filing through the Court’s

                                                                 8   CM/ECF system.

                                                                 9

                                                                10                                                /s/ Tyler R. Andrews
                                                                                                                  An employee of GREENBERG TRAURIG, LLP
                                                                11

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